          Case 3:22-cv-03912-RFL Document 89-1 Filed 05/13/24 Page 1 of 34




 1 Todd M. Schneider (SBN 158253)

 2 Matthew S. Weiler (SBN 236052)
   Sunny S. Sarkis (SBN 258073)
 3 SCHNEIDER WALLACE
   COTTRELL KONECKY LLP
 4 2000 Powell Street, Suite 1400
   Emeryville, CA 94608
 5 Telephone: (415) 421-7100
   TSchneider@schneiderwallace.com
 6 MWeiler@schneiderwallace.com
   SSarkis@schneiderwallace.com
 7

 8 Jason H. Kim (SBN 220279)
   SCHNEIDER WALLACE
 9 COTTRELL KONECKY LLP
   300 S. Grand Ave., Suite 2700
10 Los Angeles, California 90071
   Telephone: (415) 421-7100
11 JKim@schneiderwallace.com

12

13

14                         UNITED STATES DISTRICT COURT
15                       NORTHERN DISTRICT OF CALIFORNIA
16

17                                                  Case No. 3:22-cv-03912-RFL
   MARK YOUNG, on behalf of himself and all
18 other similarly situated,                        DECLARATION OF MATTHEW S.
                                                    WEILER IN SUPPORT OF
19                         Plaintiff,               PLAINTIFF'S REQUEST FOR
                                                    JUDICIAL NOTICE
20       v.
                                                    Judge: Hon. Rita F. Lin
21                                                  Date: August 6, 2024
                                                    Time: 10:00 a.m.
22 SOLANA LABS, INC.; THE SOLANA                    Court: Courtroom 15 – 18th Floor
   FOUNDATION; ANATOLY YAKOVENKO;
23 MULTICOIN CAPITAL MANAGEMENT
   LLC; KYLE SAMANI,
24

25                         Defendants.

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     WEILER DECL. ISO PLAINTIFF’S REQUEST FOR                    Case No. 3:22-cv-03912-RFL
     JUDICIAL NOTICE
            Case 3:22-cv-03912-RFL Document 89-1 Filed 05/13/24 Page 2 of 34




 1 I, Matthew S. Weiler, declare:

 2          1.     I make this declaration on my own personal knowledge and if called to testify on

 3 these matters, I could do so competently.

 4          2.     I am a partner with Schneider Wallace Cottrell Konecky LLP, counsel of record for

 5 Plaintiff Mark S. Young (“Young”). I am duly licensed to practice law in the State of California

 6 and am admitted to practice in this District. I make this declaration in support of Young’s

 7 Opposition to Solana Labs, Inc.’s Motion to Dismiss Plaintiff’s Consolidated Amended Class

 8 Action Complaint.
 9          3.     I am informed and believe that Exodus is a secure cryptocurrency wallet designed

10 to provide users with a platform for managing their digital assets, including Solana tokens

11 (“SOL”).

12          4.     Attached hereto as Exhibit 1 is a true and correct copy of the Exodus website page

13 explaining its swap feature available to its users that allows them to exchange one cryptocurrency

14 to another. I am informed and believe Plaintiff Young exercised this feature to purchase SOL.

15 This document was downloaded from: https://www.exodus.com/support/en/articles/8598908-

16 how-do-i-get-help-with-my-buy-or-sell-crypto-order.

17          5.     Attached hereto as Exhibit 2 is a true and correct copy of a printout from Yahoo

18 Finance reflecting SOL securities price at 2:14 pm on May 10, 2024, https://www.
19 https://finance.yahoo.com/quote/SOL-USD (last visited May 13, 2024).

20          6.     I declare under penalty of perjury under the laws of the United States of America

21 that the foregoing is true and correct. Executed this 13th day of May 2024, at Moraga, California.

22
                                                         /s/ Matthew S. Weiler
23
                                                         Matthew S. Weiler
24

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     WEILER DECL. ISO PLAINTIFF’S REQUEST FOR                           Case No. 3:22-cv-03912-RFL
     JUDICIAL NOTICE
Case 3:22-cv-03912-RFL Document 89-1 Filed 05/13/24 Page 3 of 34




             EXHIBIT 1
5/11/24, 3:16 PM      Case 3:22-cv-03912-RFL   Document
                                          How do                89-1
                                                 I swap crypto in ExodusFiled
                                                                        Swap? |05/13/24     Page
                                                                                Exodus Knowledge    4 of 34
                                                                                                 Base




                   Search for articles...




        All Collections       Swap        How do I swap crypto in Exodus Swap?



        How do I swap crypto in Exodus Swap?
        Learn how to swap Bitcoin and crypto using Exodus Swap! How to swap cryptocurrency in
        Exodus.

        Updated over a week ago


           Table of contents


        Learn how to swap Bitcoin and other crypto in Exodus. Swap one asset for another in Exodus
        Swap!


        Would you like to swap crypto in Exodus? You can download Exodus here.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                        1/29
5/11/24, 3:16 PM      Case 3:22-cv-03912-RFL   Document
                                          How do                89-1
                                                 I swap crypto in ExodusFiled
                                                                        Swap? |05/13/24     Page
                                                                                Exodus Knowledge    5 of 34
                                                                                                 Base



                     How to Make Bitcoin Crosschain swaps | Exodus Tutorial




        In this article:
              What is Exodus Swap?
                 Which assets are available to swap in Exodus?
                 How much crypto can I swap?
              How do I swap crypto?
                    Mobile
                    Desktop
                    Web3 Wallet
                    Trezor
              How do I find another platform to swap my asset?




                                  Lee este artículo en Español | Read this article in Spanish




        What is Exodus Swap?
        You can swap one crypto for another using the in-app swap in Exodus.


        Swap services are available through third-party API providers.


https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                        2/29
5/11/24, 3:16 PM      Case 3:22-cv-03912-RFL   Document
                                          How do                89-1
                                                 I swap crypto in ExodusFiled
                                                                        Swap? |05/13/24     Page
                                                                                Exodus Knowledge    6 of 34
                                                                                                 Base

        Your crypto is sent from your self-custody Exodus wallet to a third-party swap API provider,
        which then sends your new crypto back.


        If you're looking for a DEX to swap your tokens, you can find one for supported networks in
        Exodus Web3 Wallet: How do I swap crypto in Web3 Wallet?




        Which assets are available to swap in Exodus?
        You can see all assets that are supported in Exodus here: Status.


        Assets that are available to swap will have a green checkmark in the Swap column.




        How much crypto can I swap?
        There are a lot of assets available to swap in Exodus. However, it's important to note that
        there is a minimum amount and a maximum amount you can swap.


        Third-party swap API providers set floating minimums and maximums on their orders so that
        they can be sure all customers will be able to make their swaps.

https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                        3/29
5/11/24, 3:16 PM      Case 3:22-cv-03912-RFL   Document
                                          How do                89-1
                                                 I swap crypto in ExodusFiled
                                                                        Swap? |05/13/24     Page
                                                                                Exodus Knowledge    7 of 34
                                                                                                 Base



        These limits are determined according to several factors such as the liquidity of the assets
        you want to swap, as well as market conditions at the time of the swap.


        However, there is no limit on the number of times you can swap. You can do as many
        maximum swaps as you would like.




        How do I swap crypto?
        Mobile
           1. In Exodus Mobile, tap on the Swap icon.




           2. a) Select the asset from the dropdown menu that you want to swap on the top, b) then
              select the asset you want to receive on the bottom.


https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                        4/29
5/11/24, 3:16 PM      Case 3:22-cv-03912-RFL   Document
                                          How do                89-1
                                                 I swap crypto in ExodusFiled
                                                                        Swap? |05/13/24     Page
                                                                                Exodus Knowledge    8 of 34
                                                                                                 Base




           3. Next, enter the amount of crypto you want to swap by tapping the 0.00. You have a few
              ways to do this:


                    a )MIN: the minimum amount you can swap.
                    b) HALF: swap half of your balance
                    c) ALL: swap all of your balance
                    d) Enter an exact amount of crypto or fiat currency




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                        5/29
5/11/24, 3:16 PM      Case 3:22-cv-03912-RFL   Document
                                          How do                89-1
                                                 I swap crypto in ExodusFiled
                                                                        Swap? |05/13/24     Page
                                                                                Exodus Knowledge    9 of 34
                                                                                                 Base




           4. The network fee shows in the same fiat currency value set for your wallet. If you wish to
              view the network fee in the asset you are swapping, tap on the network fee.


              For steps to change your fiat currency, visit: How do I change the fiat currency?




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                        6/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   10 of 34
                                                                                                Base




           5. Once you confirm the amount of crypto you will send and receive, tap Swap Now.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       7/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   11 of 34
                                                                                                Base




           6. Be careful not to close your wallet during the Starting screen, or your swap will not finish
              initiating.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       8/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   12 of 34
                                                                                                Base




           7. After your wallet display changes to Receiving..., there is nothing more to do on your
              end. Tap Continue to return to your wallet or close Exodus. Your new crypto will arrive in
              your wallet shortly!


              Enable wallet activity notifications to receive a push notification when your swap
              completes: How do I manage notifications on Exodus Mobile?




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       9/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   13 of 34
                                                                                                Base




        Desktop
           1. In Exodus Desktop, click on the Swap tab at the top.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       10/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   14 of 34
                                                                                                Base




           2. If you are using multiple portfolios in the wallet, you can show or hide them by clicking
              on Show / Hide Portfolios.




              If you choose a) Show Portfolios, b) you can select the portfolio for each asset in the
              swap pair.

https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       11/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   15 of 34
                                                                                                Base




           3. From the dropdown menu, select the asset that you want to swap on top, and pick the
              asset you want to receive at the bottom.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       12/29
5/11/24, 3:16 PM      Case 3:22-cv-03912-RFL
                                           How Document
                                               do I swap crypto89-1
                                                               in ExodusFiled
                                                                         Swap?05/13/24     Page
                                                                              | Exodus Knowledge   16 of 34
                                                                                                 Base

           4. If you are using multiple portfolios, you can choose the portfolio for the asset you would
              like to swap, as well as for the asset that you would like to receive.




           5. Next, enter the amount of crypto you want to swap. You have a few ways to do this:


                   a. Select an amount by entering a value in crypto or fiat.
                   b. MIN: The minimum amount you can swap.
                   c. HALF: swap half of your balance.
                   d. ALL: swap all of your balance.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                        13/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   17 of 34
                                                                                                Base




           6. After selecting an amount, you can have a look at the network fee to send your asset to
              swap.




           7. Once you are happy with the amount of crypto you will send and receive, along with the
              network fee, click Swap Now.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       14/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   18 of 34
                                                                                                Base




           8. Be careful not to close your wallet during the Starting Your Swap... screen, or your swap
              will not finish initiating.




              When you see Swap in Progress!, there is nothing more to do on your end. You are free
              to close Exodus. Your new crypto will arrive in your wallet shortly!



https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       15/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   19 of 34
                                                                                                Base

        Web3 Wallet
        For our full guide on how to swap crypto in Web3 Wallet, you can see our Knowledge Base
        article here: How do I swap crypto in Web3 Wallet?


        In Web3 Wallet, you are able to swap crypto via both decentralized (DEX) and centralized
        (CEX) third-party exchange API providers.


            Exodus Swap in Web3 Wallet integrates a DEX aggregator for each supported
            blockchain and handles cross-chain swaps through the same third-party exchange API
            providers available in Desktop and Mobile.


           1. In Web3 Wallet, click on the Swap icon.




           2. To select the asset you want to swap from, click the I have dropdown menu.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       16/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   20 of 34
                                                                                                Base




           3. Next, a) search for the token by name or ticker symbol, b) click Filter to display tokens
              on a specific network, or c) select from the list of all available tokens.




           4. Click the I want dropdown menu to select the token you'd like to receive.

https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       17/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   21 of 34
                                                                                                Base




           5. a) Search for your token, or b) scroll through the list.




           6. Enter the amount of crypto you want to swap. You have a few ways to do this:

https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       18/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   22 of 34
                                                                                                Base



                    a) MIN: the minimum amount you can swap.
                    b) HALF: swap half of your balance
                    c) ALL: swap all of your balance
                    d) Enter an exact amount of crypto by clicking on the amount




           7. You can review your swap details by clicking Network Fee.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       19/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   23 of 34
                                                                                                Base




           8. After reviewing your swap details, click X to return to your swap.




           9. When you are ready, click Swap.



https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       20/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   24 of 34
                                                                                                Base




         10. Once your swap begins, a new tab will open in your browser to display the progress. You
             can leave the tab open to monitor the swap progress, or a) close the tab and continue
              using Exodus by b) clicking the Web3 Wallet icon. Your swap progress is also available
              by navigating to the swap history page.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       21/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   25 of 34
                                                                                                Base

         11. And that's it! Your swap is complete. a) Click Open Explorer to view the swap transaction
             on a block explorer, or b) click the Web3 Wallet icon to continue using Exodus.




        Trezor
           1. First, connect and unlock your Trezor. Then, in Exodus Desktop, click the Swap icon.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       22/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   26 of 34
                                                                                                Base




           2. Click Show Portfolios.




           3. You can a) choose between Trezor and Exodus portfolios to swap from, and b) choose
              between Trezor and Exodus portfolios to receive your swapped tokens.



https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       23/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   27 of 34
                                                                                                Base




           4. To select your Trezor portfolio, a) click the Portfolio icon, then b) click the Trezor icon.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       24/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   28 of 34
                                                                                                Base




           5. Next, a) search for the token by name or ticker, or b) select from the list of available
              tokens. If you select an asset not supported in Trezor, you'll be asked to choose another
              portfolio.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       25/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   29 of 34
                                                                                                Base




           6. Once you've chosen the portfolios to use and tokens to swap, follow the Desktop steps
              above.




        How do I find another platform to swap my asset?
https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       26/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   30 of 34
                                                                                                Base

        When you do not have enough crypto for a minimum swap, or if your asset is unavailable to
        swap in Exodus, you can look for an alternate platform.


        To find another platform, you can go to CoinMarketCap, search for your asset, and click on
        Market. This will show you other platforms where it is possible to swap that asset.


            CoinMarketCap is not affiliated with Exodus. As such, Exodus cannot guarantee that
            the steps shown and the information provided will always be accurate.




         Exodus is not affiliated with any third-party platforms, external links, or any other third-party
         resources mentioned in this article. As such, Exodus cannot guarantee the performance of
         third-party products or services, or that the steps shown and the information provided will
         always be accurate.




        Related Articles

             How do I send Bitcoin and crypto from Exodus?

https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                       27/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   31 of 34
                                                                                                Base


             What are the benefits of swapping crypto in Exodus vs. centralized exchanges?

             How do I swap crypto in Web3 Wallet?


             How do I send crypto from Atomic Wallet to Exodus?

             How do I receive Bitcoin and crypto in Exodus?




                                                           😞😐😃
                                                    Did this answer your question?




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        Desktop Wallet                    Legal Inquiries                  Careers

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        Exodus Crypto                     Newsletter                       Security
        Apps

        Wallet as a
        Service

        XO Swap




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                           28/29
5/11/24, 3:16 PM     Case 3:22-cv-03912-RFL
                                          How Document
                                              do I swap crypto89-1
                                                              in ExodusFiled
                                                                        Swap?05/13/24     Page
                                                                             | Exodus Knowledge   32 of 34
                                                                                                Base

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        was co-founded by Daniel Castagnoli and JP
        Richardson.

        Exodus is a software platform ONLY and does not conduct any independent diligence on or substantive review of any
        blockchain asset, digital currency, cryptocurrency or associated funds. You are fully and solely responsible for evaluating
        your investments, for determining whether you will swap blockchain assets based on your own, and for all your decisions as
        to whether to swap blockchain assets with the Exodus in app swap feature. In many cases, blockchain assets you swap on
        the basis of your research may not increase in value, and may decrease in value. Similarly, blockchain assets you swap on
        the basis of your research may increase in value after your swap.


        Past performance is not indicative of future results. Any investment in blockchain assets involves the risk of loss of part or
        all of your investment. The value of the blockchain assets you exchange is subject to market and other investment risks.


        Exodus is not responsible for your decisions, actions, or losses that result from using Exodus. If the recovery phrase is lost,
        the user might not be able to retrieve their private keys.




https://www.exodus.com/support/en/articles/8598630-how-do-i-swap-crypto-in-exodus-swap                                                    29/29
Case 3:22-cv-03912-RFL Document 89-1 Filed 05/13/24 Page 33 of 34




             EXHIBIT 2
5/10/24, 2:14 PM                           Case 3:22-cv-03912-RFL   Document
                                                               SOL-USD               89-1
                                                                       Interactive Stock ChartFiled
                                                                                              | Solana05/13/24      Page
                                                                                                       USD Stock - Yahoo    34 of 34
                                                                                                                         Finance

    Solana USD (SOL-USD)                                         146.09     -4.43 (-2.95%)
    CCC - CoinMarketCap. Currency in USD                         As of 09:05PM UTC. Market open.


                                                        SOL-USD
                                                            P:
                                                        N/A
                                                            O:
                                                        N/A
                                                            H:
                                                        N/A
                                                            L:
                                                        N/A
                                                            C:
                                                        N/A
                                                          VOL:
                                                        N/A




                                                      1D 5D 1M 3M 6M YTD 1Y 2Y 5Y Max                 1 month        Mountain
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https://finance.yahoo.com/chart/SOL-USD#eyJsYXlvdXQiOnsiaW50ZXJ2YWwiOiJtb250aCIsInBlcmlvZGljaXR5IjoxLCJ0aW1lVW5pdCI6bnVsbCwiY2FuZGxlV2lkdGgiOjEyLjQsImZsaXBwZWQiOmZhb…   1/1
